           Case 2:09-cr-00409-JAM Document 24 Filed 10/09/09 Page 1 of 2


 1   Olaf W. Hedberg
     Attorney at Law
 2   SBN 151082
     1107 9th St., Suite 850
 3   Sacramento, California 95814
     Telephone (916) 476-5168
 4
     ATTORNEY FOR DEFENDANT
 5   DONALD CHARLES MANN
 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                      FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,      )      CR.S   09-00409 EJG
                                    )
10                  Plaintiff,      )      SUBSTITUTION OF ATTORNEY
                                    )
11        V.                        )
                                    )
12   DONALD CHARLES MANN,           )
                                    )
13                  Defendant.      )
                                    )
14                                  )
15
16        It is respectfully requested that MARK REICHEL, esq., be relieved
17   as attorney of record in the above captioned case and that OLAF W.
18   HEDBERG be substituted in as appointed counsel.
19
20                                      Respectfully submitted,
21
22
23                                      OLAF W. HEDBERG
24                                      /s/ OLAF W. HEDBERG
     DATED:_October 6, 2009             OLAF W. HEDBERG
25                                      Attorney for Defendant
26
27
28
              Case 2:09-cr-00409-JAM Document 24 Filed 10/09/09 Page 2 of 2


 1
 2
          I consent to the substitution.
 3
 4
     DATED:     October 6, 2009           /s/
 5
                                         DONALD C. MANN
 6                                       Defendant

 7
 8
     DATED:     October 6 , 2009          /s/
 9                                       MARK REICHEL
                                         Attorney at Law
10
11
12                                        O R D E R

13               IT IS SO ORDERED.

14   DATED: October 9, 2009
15                                        /s/ Edward J. Garcia
                                         HON. EDWARD J. GARCIA
16                                       UNITED STATES DISTRICT COURT JUDGE
17
18
19
20
21
22
23
24
25
26
27
28


                                               2
